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       JAMIE LYNN GALLIAN
     l
       16222 MONTEREY LANE UNIT 376
     2 HUNTINGTON     BEACH, CA 92649
       (714) 321-3449
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       JAMIEGALLIAN@GMAIL.COM
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    10                                       UNITED STATES BANKRUPTCY COURT

    11                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
    12 In re                                                                 Case No. 8:21-bk-11710-ES
    13 JAMIE LYNN GALLIAN,                                                   Chapter 7 AMENDED
    14                         Debtor.                                       NOTICE OF LODGMENT OF ORANGE
                                                                             COUNTY TAX ASSESSORS PROOF OF
    15                                                                       DEBTORS HOMESTEAD EXEMPTION
                                                                             EFFECTIVE 2/25/2021 IN SUPPORT OF
    16                                                                       OPPOSITION TO MOTION OBJECTING TO
                                                                             CLAIMED HOMESTEAD EXEMPTION
    17
                                                                             [Dk. No. 130]
    18
                                            Date: July 21, 2022
    19                                      Time: 10:30 a.m.
                                            Ctrm: 5A 1
    20
       11 _ _________________, ���gton: 411 W. Fourth Street, Santa Ana, CA
    21 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE, THE
    22 DEBTOR, AND ALL INTERESTED PARTIES:
    23             JAMIE LYNN GALLIAN ("Debtor.") files this Notice
    2    of Lodgment in support of her opposition ("Opposition") filed on July 1, 2022, as Dk. No. 135. At
    25 the time the Opposition was filed, Debtor's Proof of Exemption had not been received from the
    26 Assessors Office. The information needed to prove date of exemption is not made public.
    27   1 T
             o continue to aid in the mitigation of the spread of the COVID-19 virus and in light of the response of the Bar to
         continue virtual appearances, Judge Smith will continue to hold the majority of her hearings remotely using ZoomGov
    28   aud:io and v.i.deo_ J.-Iowev-er, be g-:innin g Se ptember 1 7 2021 7 Judge Sm.ith -will allow the option £or in-person. hearinos
         and/or hybrid proceedings for trial and evidentiary hearings onl y.
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         As such, the Opposition cited to and attached as Exhibit "1". Attached is a true and correct

     1 Real time Screen Capture from Orange County Tax Assessors Office in Real Time July 21,
     2 2022. The responsible person providing this information to Jamie Gallian "JASON"
     3 Assessors Office Employee in the Exemption Department provided this information. A hard

     4 copy is currently being obtained by Jamie Gallian.
     5 I declare under the penalty of perjury the foregoing statement is True and Correct.
     6 Signed this 21st day of July, 2022, at Huntington Beach, CA County of Orange.
     7
         DATED: July 21, 2022                    JAMIELYNNG
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